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UNITED STATES DISTRICT COURT                      SOUTHERN DISTRICT OF TEXAS
                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
Steven Teran,                             §                                 September 17, 2018
                                          §                                  David J. Bradley, Clerk
versus                                    §               Civil Action 4:18−cv−01866
                                          §
Pete Dimas Enterprises, LLC.              §

                          Order Resetting Conference

1.   The pretrial conference has been reset to:

                                 September 24, 2018
                                    at 04:00 PM

2.   To ensure full notice, whoever receives this notice must confirm that every other
     party knows of the setting.

     Signed on September 17, 2018, at Houston, Texas.
